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EXHIBIT 058

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D. Havayou edence¢ any cl mem symptoms: cough. we¢hnou. weight lou. levers¢ night emals. loss of appetite or ielhargy?
V£S § IIYES. whm?

 

 
   
 

 

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GUIDRY EX. 058
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| D D Di " O v r E n 03/08/200 07:

 

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H. BEHAViOR AND MENTAL STAT
Hyg|ene & Appsaranca: leen. neat I:] Diny. sloppy C] Other:-
Orientalion (ask questions and document ?_'.response) '

Whet is todoy' s deta? 3-
What time is ii?

eratpl is lhis?
Speech: Norma| [:\ Loud Mumb|in | | Olher:
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l. THOUGHT CONTENT (Please circle YES or NO)
Are you having current thoughts about suicide or seli~

 

 

 

  
    
 

   

 

 
 

injury? YES
Do you see or hear things that others do noises or bean ¥ES
00 you have any special powers abilitiee? YES
Doyou receive personal messages from the TV or radio? YES
Do you have any phobias or excessive fears'i YES
J. DiSPOSiTiCN
Roullne referral to: edioal enial Heeith entai ClD
immediate referral to: Med|cal Monial Heelth Dental ClD
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Deto: ¢3/)7/ 100 7
Date: ,P¢ 1002

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